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                             IN THE UNITED STATES DISTRICT COURT

                           FOR THE SOUTHERN DISTRICT OF GEORGIA

                                      AUGUSTA DIVISION




IN RE:                                             CR115-077, M. Howard et. Al.
                                                   CR 115-107, W. M. McGhee
LEAVE OF ABSENCE REQUEST
BRENDAN N. FLEMING
April 1,2016 through April 11, 2016




                 ORDER GRANTING LEAVE OF COURT FOR BRENDAN N. FLEMING



         IT IS THE ORDER OF THE COURT that Brendan N. Fleming, Counsel for the Defendant,

Rachel Padgett, for the above-styled cases, is granted Leave of Court for the period of April 1,

2016through April 11, 2016. The purpose of the leave is a Family Vacation outside the State of

Georgia. There are no scheduled hearings to date for anyof the above-styled cases.

This t~y      day of January, 2016.




                                            J. RANDAL HALL
                                            UNITED STATES DISTRICT JUDGE
                                            SOUTHERN DISTRICT OF GEORGIA




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